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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                www.flsb.uscourts.gov

In re:                                                  Chapter 11
TGP COMMUNICATIONS, LLC                                 Case No. 24-13938-MAM
       Debtor.
       _______          ____/


                                    NOTICE OF FILING


       TGP COMMUNICATIONS, LLC (the “Debtor”), hereby files the Retainer Agreement,

which is attached as Exhibit “A”.


Dated: May 2, 2024


                                          HOUSTON RODERMAN
                                          Attorney for Debtor-in-Possession

                                    By:   /s/ Bart A. Houston
                                          Bart A. Houston
                                          Florida Bar No. 623636
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                                          Primary Email: bhouston@thehoustonfirm.com
                                          Secondary Email: dschena@thehoustonfirm.com
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing document was served

by the CM/ECF Noticing System on all counsel or parties of record who are on the CM/ECF

Noticing System on May 2, 2024.


                                        By:    /s/ Bart A. Houston
                                               Bart A. Houston, Esq.
                                               Florida Bar No. 623636
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          EXHIBIT “A”
           Retainer Agreement
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